                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS

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ALISSA FREDRICKS,
                                                   :
                             Plaintiff,              Civil Action
                                                   : No. 19-10331-RGS
               v.
                                 :
MARKEL CATCO INVESTMENT            ORAL ARGUMENT
MANAGEMENT LTD AND MARKEL CORP., : REQUESTED

                             Defendants.           :

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   DEFENDANTS' MOTION TO DISMISS PLAINTIFF'S AMENDED COMPLAINT

               Pursuant to Federal Rule of Civil Procedure 12(b)(6) and on the basis of forum

non conveniens, defendants Markel CATCo Investment Management Ltd and Markel Corp.

(collectively, "Defendants") hereby move this Court to dismiss Plaintiff's Amended Complaint

(ECF No. 13) with prejudice. The grounds for this Motion are set forth in the accompanying

memorandum of law, Declaration of Alexander Potts QC, Appendix of Foreign Authorities, and

Transmittal Declaration of James R. Carroll and its enclosed exhibit, which are submitted

herewith.

                            REQUEST FOR ORAL ARGUMENT

               Pursuant to Local Rule 7.1(D), Defendants respectfully request oral argument on

this Motion.
                               LOCAL RULE 7.1 CERTIFICATION

                  I, Christopher A. Lisy, hereby certify that I have conferred with counsel for

Plaintiff in good faith, but the parties have been unable to resolve or narrow the issues presented

in this Motion.

Dated: April 29, 2019                            /s/ Christopher A. Lisy
                                                 Christopher A. Lisy


Dated: April 29, 2019                            Respectfully submitted,
       Boston, Massachusetts
                                                 /s/ James R. Carroll
                                                 James R. Carroll (BBO #554426)
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                                                 Counsel for Defendants
                                                 Markel CATCo Investment Management Ltd and
                                                 Markel Corporation




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